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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:17-CR-0041 TLN
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   JAMES SMALLWOOD and                                 DATE: February 22, 2018
     JOHN SMALLWOOD,                                     TIME: 9:30 a.m.
15                                                       COURT: Hon. Troy L. Nunley
                                  Defendants.
16

17

18                                               STIPULATION
19          Plaintiff United States of America, by and through its counsel of record, and Defendants, by and
20 through Defendants’ counsel of record, hereby stipulate as follows:

21          1.      By previous order, this matter was set for a status conference on February 22, 2018. By
22 this stipulation, the parties now move to continue the status conference as follows:

23                  a)     For James Smallwood, until March 1, 2018, at 9:30 a.m.,
24                  b)     For John Smallwood, until April 26, 2018, at 9:30 a.m.,
25 and to exclude time between February 22, 2018, and these dates under Local Code T4.

26          2.      The parties agree and stipulate, and request that the Court find the following:
27                  a)     The Government represents that the discovery associated with this case presently
28          comprises approximately more than 800 pages of reports, 12 audio-visual recordings, and the

      STIPULATION REGARDING EXCLUDABLE TIME              1
      PERIODS UNDER SPEEDY TRIAL ACT
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 1          contents of cellular phones that have been produced to Defendants, as appropriate.

 2                  b)      Counsel for Defendant James Smallwood desires time to review the discovery for

 3          this matter and to review the Government’s proposed plea agreement with his client. These

 4          parties anticipate that on March 1, James Smallwood will enter a change of plea, pursuant to the

 5          plea agreement.

 6                  c)      Counsel for Defendant John Smallwood desires time to review the discovery for

 7          this matter, to conduct additional investigation and research concerning the charges, to consult

 8          with Defendant John Smallwood, to assess and discuss potential methods of resolution, and to

 9          assess going to trial. These parties anticipate that on April 26, they will either enter a change of

10          plea or set trial dates.

11                  d)      Counsel for Defendants submit that failure to grant the requested continuances

12          would deny them reasonable time necessary for effective preparation, taking into account the

13          exercise of due diligence. The Government does not dispute this submission.

14                  e)      Based on the above-stated findings, the ends of justice served by continuing the

15          case as requested outweigh the interest of the public and Defendants in a trial within the original

16          date prescribed by the Speedy Trial Act.

17                  f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

18          et seq., within which trial must commence, the time periods of February 22, 2018 to March 1,

19          2018, as to James Smallwood and of February 22, 2018 to April 26, 2018 as to John Smallwood,

20          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

21          because they result from a continuance granted by the Court on the basis of the Court’s finding

22          that the ends of justice served by taking such action outweigh the best interest of the public and

23          Defendants in a speedy trial.

24          3.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

25 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

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      STIPULATION REGARDING EXCLUDABLE TIME               2
      PERIODS UNDER SPEEDY TRIAL ACT
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 1 must commence.

 2         IT IS SO STIPULATED.

 3 Dated: February 20, 2018                          McGREGOR W. SCOTT
                                                     United States Attorney
 4

 5                                                   /s/ OWEN ROTH
                                                     OWEN ROTH
 6                                                   Assistant United States Attorney
 7

 8

 9 Dated: February 20, 2018                          /s/ DOUGLAS BEEVERS
                                                     DOUGLAS BEEVERS
10
                                                     Counsel for Defendant
11                                                   JAMES SMALLWOOD

12
     Dated: February 20, 2018                        /s/ OLAF W. HEDBERG
13                                                   OLAF W. HEDBERG
                                                     Counsel for Defendant
14                                                   JOHN SMALLWOOD
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17
                                         FINDINGS AND ORDER
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           IT IS SO FOUND AND ORDERED this 20th day of February, 2018.
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23                                                       Troy L. Nunley
                                                         United States District Judge
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      STIPULATION REGARDING EXCLUDABLE TIME      3
      PERIODS UNDER SPEEDY TRIAL ACT
